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                        Exhibit 1
   Case1:16-cv-00007-APM
   Case 1:16-cv-00007-APM Document
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                                                            2 of
                                                               of28
                                                                  21




                           UNITED STATES DISTRICT COURT
                                         For The
                                  District of Columbia


ANDREW JONES,                               )
                                            )
       Plaintiff,                           )
                                            )
               v.                           )       Civil Action No. 16-CV-07 (APM)
                                            )
DISTRICT OF COLUMBIA, et al.,               )
                                            )
       Defendants.                          )
                                            )


                         DECLARATION OF ROLINA JOHNSON

       I, Mina Johnson, hereby make the following declaration under penalty of perjury

pursuant to 28 U.S.C. § 1746.

       1.      I am a Program Analyst for the District of Columbia District Court (DCDC),

United States Marshals Service (USMS), Department of Justice. I have held this position since

November 2011.

       2.      At the time of the events described in plaintiff's Amended Complaint, from

October 9, 2014 to January 2015, I was generally responsible for sending notifications to the

District of Columbia Department of Corrections (DOC) with regard to the detention of

individuals remanded to DOC custody from the United States Marshals for the District of

Columbia.

       3.      On November 6, 2014, 1 sent an email to the DOC regarding Mr. Jones, a copy of

which is attached as Exhibit A. The email which was sent to the email address used by the

DCDC Prisoner Coordination Section for prisoner detention matters gave notice to the DOC that
  Case1:16-cv-00007-APM
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                                                      Page19
                                                           3 of
                                                              of28
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Mr. Jones was to be immediately released from any federal charges, because he was not wanted

for escape and he had no other such charges.

         I declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct to the best of my knowledge, information and belief.




                                               Rogna Johnson
                                               Program Analyst

Dated:




                                                   2
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                                                                    4 of
                                                                       of28
                                                                          21


Alvarado, Henry (USMS)

From:                       Johnson, Rolina (USMS)
Sent:                       Thursday, November 06, 2014 3:52 PM
To:                         DOC.Records.Management@dc.gov
Cc:                         Alvarado, Henry (USMS)
Subject:                    JONES
Attachments:                usm41 Release By BOP- DC Jail.pdf - Adobe Reader,pdf



PLEASE RELEASE ASAP THE WARRANT WAS EXECUTED IN ERROR
THANKS
ROLINA




                                                    1
                                                                                   DOLUSMS00001 5
               Case1:16-cv-00007-APM
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                                                                           of28
                                                                              21

 U.S. Department of Justice                           PRISONER REMAND OR ORDER TO DELIVER AND
 United States Marshals Service
                                                      RECEIPT FOR UNITED STATES PRISONERS
                                  L
                                                                                            LL                    Ateltfiq


                                               UNITED STATES MARSHAL
                                      U.S. District Court District of Columbia

TO, DC JAIL                                                                          DATE: 11/6/14
    (Name & Title)

THE FOLLOWING NAMED UNITED STATES PRISONER(S): U are herewith remanded to your custody
                                                           gl are   to be delivered to representative presenting and signing this order

i) JONES, ANDREW                                                      4) RELEASE FROM DISTRICT CT CHARGES
2) REG#42732007                                                       5)
3) DCDC#303170                                                        6)


                          RECEIPT
  THE ABOVE NAMED PRISONERS WERE RECEIVED:                                 EDWIN SLOANE
 13Y:                                                                      United States Marshal
  TITLE:
                                                                           HENRY ALVARADO
  DISTRICT OR ORGANIZATION ADDRESS:
                                                                           BY: Deputy United States Marshal




                                                                                                                                      Form USM-41
                                                   (PRIOR EDITIONS MAY BE USED)
                                                                                                              Rev. "14383PMINgabbtfi 8hort Form)
Case 1:16-cv-00007-APM Document 52-2 Filed 11/11/16 Page 6 of 28




                        Exhibit 2
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                        Exhibit 3
            Case 1:16-cv-00007-APM Document 52-2 Filed 11/11/16 Page 10 of 28
  BOPSI 531.01 *                    INMATE HISTORY                 *       02-25-2016
PAGE 001 OF 001 *                     ADM-REL                      *       13:30:55

 REG NO..: 42732-007 NAME....: JONES, ANDREW JOHN
 CATEGORY: ARS       FUNCTION: PRT         FORMAT:

FCL     ASSIGNMENT   DESCRIPTION                      START DATE/TIME   STOP DATE/TIME
CDC     GCT REL      GOOD CONDUCT TIME REL (CCCA)     11-03-2014 0917   CURRENT
CDC     A-DES        DESIGNATED, AT ASSIGNED FACIL    10-10-2014 1803   11-03-2014 0917
CDC     ESCAPE       ESCAPE                           10-10-2014 0945   10-10-2014 1803
CDC     A-DES        DESIGNATED, AT ASSIGNED FACIL    03-18-2014 2318   10-10-2014 0945
3-V     RELEASE      RELEASED FROM IN-TRANSIT FACL    03-18-2014 2318   03-18-2014 2318
3-V     A-ADMIT      ADMITTED TO AN IN-TRANSIT FACL   03-18-2014 0718   03-18-2014 2318
MRG     FURL TRANS   FURL W/UNESCORTED TRF TO A CCC   03-18-2014 0718   03-18-2014 0718
MRG     A-DES        DESIGNATED, AT ASSIGNED FACIL    08-14-2012 1717   03-18-2014 0718
A02     RELEASE      RELEASED FROM IN-TRANSIT FACL    08-14-2012 1717   08-14-2012 1717
A02     A-ADMIT      ADMITTED TO AN IN-TRANSIT FACL   08-14-2012 1015   08-14-2012 1717
OKL     HLD REMOVE   HOLDOVER REMOVED                 08-14-2012 0915   08-14-2012 0915
OKL     A-BOP HLD    HOLDOVER FOR INST TO INST TRF    08-02-2012 1730   08-14-2012 0915
A02     RELEASE      RELEASED FROM IN-TRANSIT FACL    08-02-2012 1830   08-02-2012 1830
A02     A-ADMIT      ADMITTED TO AN IN-TRANSIT FACL   08-02-2012 1125   08-02-2012 1830
RIV     TRANSFER     TRANSFER                         08-02-2012 1125   08-02-2012 1125
RIV     A-DES        DESIGNATED, AT ASSIGNED FACIL    09-01-2010 1420   08-02-2012 1125
9-L     RELEASE      RELEASED FROM IN-TRANSIT FACL    09-01-2010 1420   09-01-2010 1420
9-L     A-ADMIT      ADMITTED TO AN IN-TRANSIT FACL   06-30-2010 1016   09-01-2010 1420
DSC     ADMIN REL    ADMINISTRATIVE RELEASE           06-30-2010 0916   06-30-2010 0916
DSC     A-ADMIN      ADMINISTRATIVE ADMISSION         06-30-2010 0912   06-30-2010 0916




G0000         TRANSACTION SUCCESSFULLY COMPLETED




                                                                               DOJ_BOP 000005
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                        Exhibit 4
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                                                          DOJ_USMS 000007
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                                                          DOJ_USMS 000008
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                        Exhibit 5
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                                                           DOJ_BOP 000008
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                                                           DOJ_BOP 000009
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                        Exhibit 6
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                                                          DOJ_USMS 000012
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                        Exhibit 7
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                                                          DOJ_USMS 000009
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                        Exhibit 8
       Case
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                                                                1 of  28




                           UNITED STATES DISTRICT COURT
                                          For The
                                   District of Columbia


ANDREW JONES,                                 )
                                              )
        Plaintiff;                            )
                                              )
                v.                            )      Civil Action No. 16-CV-07 (APM)
                                              )
DISTRICT OF COLUMBIA, et al.,                 )
                                              )
        Defendants.                           )
                                              )

                        DECLARATION OF LIN WOOD E. BATTLE

        I, Linwood E. Battle, hereby make the following declaration under penalty of perjury

pursuant to 28 U.S.C. § 1746.

        1. I am a Supervisory Deputy United States Marshal for the District of Columbia District

Court (DCDC), United States Marshals Service (USMS), Department of Justice. I have held this

position since October 2006. As a Supervisory Deputy United States Marshal, I was the

supervisor of the DCDC Warrant Section during the relevant period of events from October

2014, through January 2015. As a supervisor, I am familiar with the operations and procedures

of the DCDC with respect to the posting and execution of arrest warrants and the coordination of

prisoner detention.

        2. On October 14, 2014, DCDC issued a warrant for the arrest of Mr. Jones based on a

Bureau of Prisons (BOP) escape notice.

   '    3. On November 6, 2014, Mr. Andrew Jones, was transported to the District of Columbia

Superior Court from the District of Columbia Central Detention Facility (CDF) for arraignment.

It was determined that Mr. Jones was charged with escape from an institution, a charge which

falls under the jurisdiction of the District of Columbia.
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          4. On November 6, 2014, I received an email from Robert Revell of the BOP, a copy Of

which is attached as Exhibit A. Although BOP indicated that it had previously sent notice to the

USMS in October, 2014, the November 6, 2014 email advised me for the first time that the

warrant for Andrew Jones had been rescinded. Also on November 6, 2014, upon learning that

Andrew Jones' warrant had been rescinded, I instructed Robert Coleman of my staff to call the

Prisoner Coordination Section, which is within the office of the United States Marshal for the

District of Columbia District Court and inform them that Mr. Jones was not to be held based on

an escape warrant.

          5. On November 6, 2014, Rolina Johnson of the Prisoner Coordination Section notified

CDF by email, a copy of which is attached as Exhibit B, that Mr. Jones was not to be held for

escape.

          6. I took no further action with regard to Mr. Jones, because I believed it would be

resolved by the Prisoner Coordination Section. I had no personal involvement in the

coordination of Mr. Jones' release or detention from CDF other than that set out above.

          In performing the above ftmctions, I was not acting under any law applicable to the

District of Columbia; rather I act in my job at the USMS pursuant to 28 U.S.C. § 561, et seq.,

which grants to me arrest powers throughout the United States.

          I declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct to the best of my knowledge, informati and ber


                                                Linwood E.
                                                Supervisory Deputy United States Marshal


Dated:

                                                   2
          Case
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                                                              Page24  of21
                                                                   3 of  28




Frcm:              Timothy Bame憤
To:                CBR Specia‖ st
Date:              ll17r2014 8:07 AM
SubJect:           Fwd:RE:Apprehension′ JoNES 42732‐ 007

FYI...,




群iW乳 ぼ
     脚 Ⅶ縫灘器謡識躙剖淵認f鶴1糖 鵠遺蒸a隆 劉s叩 ..に 馴
                  l:I‖
ensure we getthe info.The omce receives numerous faxes dai!y.


丁hanks

          ginal Mossage― ―
‑0‖
[器 嘲 「認甜霧蹄錦矧議器
    寵踊                                           回
To:Battle,Linwood(usMS)
SubieCt:RE:Apprehension/JoNES 42732¨ 007

Mr.Battlel

l apologize for the:nconvenience,however,we have the fax conlrmation thatit、    ″as sentto 202‐ 273‐ 5039
on October 14th.l believe Robert attached a copy to h:s previous ema‖  .




Again,l do apologize r t was nOtreceived,butthe BOP has no interestin th:s subiect.He has∞ mpleted
his BOP term。

丁hank you,

Tim

Timothy R.Barnett
Resldential Reentry Manager
Federal Bureau of Prisons
Reentry SeⅣ ices D:vision
302 Sentinel D‖ ve,Sulte 200
AnnapO‖ s Junctlon,MD 20701
0籠 ce:(301)317‐ 3149
Fax:(301)317‐ 3138


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contalns SENSITIVE inforrnation,it shouid be properly de‖ vered,labeled,stored,and disposed of
according to policy.


>>>"Battle,Linwood(USMS)"く Linwood.Battlea)usdmy>1 lr6′ 20143:50 PM>>>
The warant section did not received a rescinded request,The inmate was arrested on the active warrant
dated October 1 0th.

From: Robert Revell f mailto: nevell@boo. gov]
Sent Thursday, November 06, 2014 3:21 PM                                                           EXHIB:T
To: Aaron Good; Michelle Drinkard; Linwood Battle
Cc: Johnice Green; LoriA. Brown; Phelicia Taplin;Timothy Bamett; DC Managernent
Su bject Apprehension/JON ES 427 32407                                                      :        ′
                                                                                          DO」   BOP 000014
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Good Afternoon,

we recBived a fax notification from the DC USMS indicating rnmate JoNES, Andrew
                                                                                    42732-007 was
apprehended on 11-06{4 for our Escape Warrant. Howevir, ,reGd
                                                                    requested  the warrant be rescinoeo
on 10-10-14 due to him self retuming ld me nnc tne same oiy. - iie
                                                                   has'compreted nis eop senience as
of 11-03-14. Please do Nor hord 6rthe Bop. rf you have-#y questions
                                                                         or ton"erns, fr""." reim"
know.

Thanksl




Robert Revell
Residential Reentry Specialist
Federal Bureau of Prisons
Mjd-Atlantic Regionat Otfi ce (CBFyCDC)
302 Sentinel Drive Suite 200
Annapolis Junction, MD 20701

Phone:301-317-3196
Fax 301-317-3138 and 3184
nevell@boo. oov<EaillgtrevellcDlep.qq>

This message ls intended for official use and may contiain SENSIIVE information. lf this message
contains SENSITIVE information, it should be properly delivered, hbeted, stored, and disposed ol
according to policy.




                                                                                       DOJ BOP 000016
          Case
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                                                                                                        Page 1   of   I



 Robert Revell‐ ApprehensionrJONES 42732‐ 007


From:           Robert Reve‖
TO:            Battler Linwood; D百 nkard,Miche‖ e: Good,Aaron
Date:          11/6/2014 321 PM
Su"e           Apprehension/JONES 42732‐ 007
CC:        Barnet Timothソ Brown,Lori A.: DC Management Green′ Johnicel Tap…
Attachment鶴 2014̲11̲06̲15̲08̲12,pdf


Good Afternoon,

We received a fax notification from the DC USMS indicating Inmate JONEg An drew 42732-007 was
apprehended on 11-06-14 for our Escape Warrant. However, we had requested the warrant be rescinded on 10-
10-14 due to him self returning to the RRC the same day. He has completed his BOP sentence as of 11-03-14.
Please do NOT hold for the BOP. If you have any questions or concerns, please let me know.


Thanks!




Robert Reve‖
Residential Reentry Specialist
Federal Bureau of Prisons
Mid‐ AJanlc   RegiOna1 0mce(cBR/CDC)
302 Sentinel Drive Suite 200
Annapo‖ s Junction,MD 20701

Phone:301‐ 317‑3196
Fax 301‐ 317‐ 3138 and 3184
rrevdl@boo oov

This message is intended fbr ofFcial use and may contain SENSITrVE information lf this message contains
SENSITIVE information,it shOuld be properly delivered.labeled,stored,and disposed of accordlng to po‖     cy




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flleノ /CAUserふ   bop04172い ppData■ ocalヽ TempⅨ Ppwisぬ 545B91E2Ⅸ RDOMlMXRA..                          1/2/2015
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                        Exhibit 9
              Case 1:16-cv-00007-APM Document 52-2 Filed 11/11/16 Page 28 of 28




From:                 Phelicia Taplin
To:                   DC Jail - CTF
Date:                 1/2/2015 2:06 PM
Subject:              URGENT-Jones. Andrew #43732-007 DCDC 303170
CC:                   Barnett, Timothy; Battle, Linwood; Drinkard, Michelle; Revell, Robert
Attachments: 2015_01_02_13_50_28.pdf



Hello,

Please see attached paperwork regarding inmate Jones, Andrew #42732-007 DCDC 303170 is currently housed
at the DC Jail, who was previously a RRC Failure-Escape from Hope Village. However, the inmate return to Hope
Village on the same day.

He completed his BOP sentence on 11-03-2014. The USMS was notified that BOP rescinded the warrant and has
no interest in this subject due to him returning to the RRC the same day.

Please coordinate to USMS to released this inmate as soon as possible.

Thank you.




Phelicia L.Taplin
Residential Reentry Specialist
Federal Bureau of Prisons
Baltimore Residential Reentry Office
302 Sentinel Drive, Suite 200
Annapolis Junction, MD 20701
301-317-3283 Office
301-317-3138 Fax

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above number to make arrangements for its return to us.




                                                                                                                               DOJ_BOP 000011
